Case 2:06-cr-06063-LRS   ECF No. 118   filed 03/25/08   PageID.1654 Page 1 of 6
Case 2:06-cr-06063-LRS   ECF No. 118   filed 03/25/08   PageID.1655 Page 2 of 6
Case 2:06-cr-06063-LRS   ECF No. 118   filed 03/25/08   PageID.1656 Page 3 of 6
Case 2:06-cr-06063-LRS   ECF No. 118   filed 03/25/08   PageID.1657 Page 4 of 6
Case 2:06-cr-06063-LRS   ECF No. 118   filed 03/25/08   PageID.1658 Page 5 of 6
Case 2:06-cr-06063-LRS   ECF No. 118   filed 03/25/08   PageID.1659 Page 6 of 6
